AO 245C (Rev. 09/19) Amended Judgment in a Criminal Case                                                       (NOTE: Identify Changes with Asterisks (*))
                     Sheet 1


                                        UNITED STATES DISTRICT COURT
                                                     __________ DistrictofofTennessee
                                                         Middle District     __________
                                                                            )
               UNITED STATES OF AMERICA
                                                                            )
                                                                                AMENDED JUDGMENT IN A CRIMINAL CASE
                                  v.                                        )
                      Josiah Ernesto Garcia                                 )   Case Number: 3:23CR00081-001
                                                                            )   USM Number: 54000-510
Date of Original Judgment:             4/24/2025                            )   David Kentrell Fletcher
                                       (Or Date of Last Amended Judgment)   )   Defendant’s Attorney


THE DEFENDANT:
✔ pleaded guilty to count(s)
G                              1
G pleaded nolo contendere to count(s)
   which was accepted by the court.
G was found guilty on count(s)
   after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                  Nature of Offense                                                           Offense Ended                Count
18 U.S.C. § 1958                 Use of Interstate Commerce Facilities in the Commission of                  4/12/2023                    1

                                 Murder-For-Hire


       The defendant is sentenced as provided in pages 2 through                1         of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
G The defendant has been found not guilty on count(s)
G Count(s)                                       G is G are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                                                           4/22/2025
                                                                                Date of Imposition of Judgment


                                                                                Signature of Judge
                                                                                   Waverly D. Crenshaw, Jr. U.S. District Judge
                                                                                Name and Title of Judge
                                                                                                              5/2/2025
                                                                                Date




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AO 245C (Rev. 09/19) Amended Judgment in a Criminal Case
                     Sheet 4 — Probation                                                                (NOTE: Identify Changes with Asterisks (*))
                                                                                                     Judgment—Page        2      of         6
DEFENDANT: Josiah Ernesto Garcia
CASE NUMBER: 3:23CR00081-001
                                                             PROBATION
You are hereby sentenced to probation for a term of:
 Five years, the first two of which will be spent in a residential reentry center in Louisville, Kentucky.* Defendant will be
 notified by the Bureau of Prisons when to report to the designated residential reentry center.




                                                    MANDATORY CONDITIONS
1.    You must not commit another federal, state or local crime.
2.    You must not unlawfully possess a controlled substance.
3.    You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of placement on
      probation and at least two periodic drug tests thereafter, as determined by the court.
              G The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
                  substance abuse. (check if applicable)
4.     ✔
       G You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
5.     G You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901 et seq.) as
           directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
           reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
6.     G You must participate in an approved program for domestic violence. (check if applicable)
7.     G You must make restitution in accordance with 18 U.S.C. § 2248, 2259, 2264, 2327, 3663, 3663A, and 3664. (check if applicable)
8.    You must pay the assessment imposed in accordance with 18 U.S.C. § 3013.
9.    If this judgment imposes a fine, you must pay in accordance with the Schedule of Payments sheet of this judgment.
10.   You must notify the court of any material change in your economic circumstances that might affect your ability to pay restitution,
      fines, or special assessments.

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.

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AO 245C (Rev. 09/19) Amended Judgment in a Criminal Case
                     Sheet 4A — Probation                                                                  (NOTE: Identify Changes with Asterisks (*))
                                                                                                      Judgment—Page          3      of         6
DEFENDANT: Josiah Ernesto Garcia
CASE NUMBER: 3:23CR00081-001

                                      STANDARD CONDITIONS OF SUPERVISION
As part of your probation, you must comply with the following standard conditions of supervision. These conditions are imposed because
they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation officers
to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.  You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of the time
    you were sentenced, unless the probation officer instructs you to report to a different probation office or within a different time frame.
2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
    when you must report to the probation officer, and you must report to the probation officer as instructed.
3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
    court or the probation officer.
4. You must answer truthfully the questions asked by your probation officer.
5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
    arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
    the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
    hours of becoming aware of a change or expected change.
6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
    take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
    doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
    you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
    responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
    days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming
    aware of a change or expected change.
8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
    convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
    probation officer.
9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
    designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
    first getting the permission of the court.
12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may require
    you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the person and
    confirm that you have notified the person about the risk.
13. You must follow the instructions of the probation officer related to the conditions of supervision.


U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant's Signature                                                                               Date




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AO 245C (Rev. 09/19) Amended Judgment in a Criminal Case
                     Sheet 4D — Probation                                                         (NOTE: Identify Changes with Asterisks (*))
                                                                                               Judgment—Page        4     of          6
DEFENDANT: Josiah Ernesto Garcia
CASE NUMBER: 3:23CR00081-001

                                         SPECIAL CONDITIONS OF SUPERVISION
   1. You shall participate in a mental health program as directed by the United States Probation Office. You shall pay all or
   part of the cost of mental health treatment if the United States Probation Office determines you have the financial ability to
   do so or has appropriate insurance coverage to pay for such treatment.

   2. You shall furnish all financial records, including, without limitation, earnings records and tax returns, to the United States
   Probation Office upon request.

   3. You shall not possess or use a computer or any device with access to any “online computer service” at any location
   (including place of employment) without the prior written approval of the United States Probation Office. This includes any
   Internet service provider or any other public or private network or email system. Your residence shall not contain any
   electronic devices capable of Internet access without prior approval of the probation officer.

   4. You shall consent to the U.S. Probation Office conducting unannounced examinations of the defendant’s computer
   system(s), mobile devices, and internal/external storage devices, which may include retrieval and copying of all memory
   from hardware/software and/or removal of such system(s) for the purpose of conducting a more thorough inspection. You
   will consent to having installed on the defendant’s computer(s), any hardware/software to monitor computer use or prevent
   access to particular materials. You will further consent to periodic inspection of any such installed hardware/software to
   ensure it is functioning properly.

   5. You shall provide the U.S. Probation Office with accurate information about the defendant’s entire computer system
   (hardware/software) and internal/external storage devices; all passwords used; and will abide by all rules regarding
   computer use and restrictions as provided by the U.S. Probation Office.




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AO 245C (Rev. 09/19) Amended Judgment in a Criminal Case
                     Sheet 5 — Criminal Monetary Penalties                                                         (NOTE: Identify Changes with Asterisks (*))
                                                                                                          Judgment — Page        5      of          6
DEFENDANT: Josiah Ernesto Garcia
CASE NUMBER: 3:23CR00081-001
                                              CRIMINAL MONETARY PENALTIES
     The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                    Assessment             5HVWLWXWLRQ)LQHAVAA Assessment*JVTA AssessPHQW
TOTALS             $ 100.00               $                                $                             $                        $


G The determination of restitution is deferred until                        . An Amended Judgment in a Criminal Case (AO 245C) will be
     entered after such determination.

G The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.
     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                Total Loss***                        Restitution Ordered                        Priority or Percentage




TOTALS                               $                          0.00          $                          0.00


G     Restitution amount ordered pursuant to plea agreement $

G     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

G     The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

      G the interest requirement is waived for           G fine         G restitution.
      G the interest requirement for the         G fine         G restitution is modified as follows:


* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.



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AO 245C (Rev. 09/19) Amended Judgment in a Criminal Case
                     Sheet 6 — Schedule of Payments                                                         (NOTE: Identify Changes with Asterisks (*))
                                                                                                         Judgment — Page       6     of         6
DEFENDANT: Josiah Ernesto Garcia
CASE NUMBER: 3:23CR00081-001

                                                     SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A    ✔ Lump sum payment of $
     G                                   100.00                due immediately, balance due

           G not later than                                       , or
           G in accordance with G C,              G D,        G   E, or    G F below; or
B    G Payment to begin immediately (may be combined with                 G C,      G D, or G F below); or
C    G Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                         (e.g., months or years), to commence                  (e.g., 30 or 60 days) after the date of this judgment; or

D    G Payment in equal                        (e.g., weekly, monthly, quarterly) installments of $                   over a period of
                        (e.g., months or years), to commence                  (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E    G Payment during the term of supervised release will commence within                    (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F    G Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




G Joint and Several
     Case Number
     Defendant and Co-Defendant Names                                                Joint and Several                Corresponding Payee,
     (including defendant number)                          Total Amount                   Amount                          if appropriate.




G The defendant shall pay the cost of prosecution.
G The defendant shall pay the following court cost(s):
G The defendant shall forfeit the defendant’s interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment, (5)
fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of prosecution
and court costs.
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AO 245C (Rev. 09/19) Criminal Judgment                                                               Not for Public Disclosure
                     Sheet 8 — Reason for Amendment


DEFENDANT: Josiah Ernesto Garcia
CASE NUMBER: 3:23CR00081-001
DISTRICT:    Middle District of Tennessee

                                                  REASON FOR AMENDMENT
                                                      (Not for Public Disclosure)

REASON FOR AMENDMENT:

G Correction of Sentence on Remand (18 U.S.C.                 G Modification of Supervision Conditions (18 U.S.C. § 3563(c) or
  3742(f)(1) and (2))                                           3583(e))
G Reduction of Sentence for Changed Circumstances             G Modification of Imposed Term of Imprisonment for Extraordinary and
   (Fed. R. Crim. P. 35(b))                                     Compelling Reasons (18 U.S.C. § 3582(c)(1))
G Correction of Sentence by Sentencing Court (Fed.            G Modification of Imposed Term of Imprisonment for Retroactive
  R.Crim. P. 35(a))                                             Amendment(s)to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))
✔
G Correction of Sentence for Clerical Mistake (Fed.           G Direct Motion to District Court Pursuant to
  R.Crim. P. 36)                                                G 28 U.S.C. § 2255 or               G 18 U.S.C. § 3559(c)(7)
                                                              G Modification of Restitution Order (18 U.S.C. § 3664)




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